

Matter of Lee (2020 NY Slip Op 02231)





Matter of Lee


2020 NY Slip Op 02231


Decided on April 9, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 9, 2020

PM-45-20

[*1]In the Matter of Jane Song Lee, an Attorney. (Attorney Registration No. 4670279.)

Calendar Date: March 16, 2020

Before: Clark, J.P., Mulvey, Aarons, Pritzker and Reynolds Fitzgerald, JJ.


Jane Song Lee, Albany, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jane Song Lee was admitted to practice by this Court in 2009 and lists a business address in Oakland, California with the Office of Court Administration. Lee now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lee's application.
Upon reading Lee's affidavit sworn to November 26, 2019 and filed December 4, 2019, and upon reading the March 12, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Lee is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Clark, J.P., Mulvey, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Jane Song Lee's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Jane Song Lee's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jane Song Lee is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Lee is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jane Song Lee shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








